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                 TD Bank – Rt 101 Goods/R        – 8273
Deposit Source    Transactions      Total        Connection to Business

    Cash              320        $689,858.98
   TOTAL                         $689,858.98

                                 PAYEES
       Payee                      Count                    Total
    Ian Freeman                    12                  -$494,514.00
 Shire Free Church                  1                   -$79,953.00
Crypto Church of NH                 1                   -$20,000.00
Transfer to TD 1932                 3                  -$100,972.14
      TOTAL                                            -$695,439.14
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Summary of Deposit Sources
TD Bank 8273, Route 101 Goods LLC
Signer: C            R
Time Period: January 2018 - October 2018
Payee                                         Count     Total Deposited Percentage of Total
Bank Fee                                        3                 $92.00       0.01%
Capital One (Returned Payment)                  2             $35,137.14       4.74%
Cash                                           320           $689,858.98      92.97%
Credit                                          1              $4,527.00       0.61%
D        ,M     J./D C.                         1              $2,000.00       0.27%
Illegible, J                                    1              $5,550.00       0.75%
J        ,C                                     1              $3,300.00       0.44%
M          ,A                                   1                $501.40       0.07%
Transfer CHK 4848 (Route 101 Goods LLC)         1                $286.22       0.04%
T        ,K    E.                               1                $801.00       0.11%
Grand Total                                    332           $742,053.74     100.00%


Summary of Payees
TD Bank 8273, Route 101 Goods LLC
Signer: C            R
Time Period: January 2018 - October 2018
Payee/Payer                                   Count       Total Paid     Percentage of Total
Bank Fee                                       23            -$1,503.46        0.20%
Capital One (Returned)                          2           -$35,137.14         4.74%
Crypto Church of NH                             1           -$20,000.00         2.70%
Debit                                           1            -$4,500.00         0.61%
Feeeman, Ian                                    1           -$54,314.00         7.32%
F        ,C                                     1               -$124.00        0.02%
Freeman, Ian                                   11          -$440,200.00        59.32%
R         ,C                                    1               -$586.00        0.08%
Route 101 Goods LLC                             7            -$4,764.00         0.64%
Shire Free Church                               1           -$79,953.00        10.77%
Transfer CHK 1932 (Route 101 Goods LLC)         3          -$100,972.14        13.61%
Grand Total                                    52          -$742,053.74       100.00%




                                           as of April 18, 2023
